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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                  Civil Action No. 9:16-cv-81992-MARRA

  BRANDON LEIDEL, individually,
  and on behalf of All Others Similarly Situated,

          Plaintiff,

  v.

  COINBASE, INC., a Delaware corporation
  d/b/a Global Digital Asset Exchange (GDAX),

            Defendant.
                                                                   /

                                              JOINT NOTICE

          Plaintiff Brandon Leidel (“Plaintiff”) and Defendant Coinbase, Inc. d/b/a Global Digital

  Asset Exchange (GDAX) (“Coinbase”), as required by this Court’s May 21, 2019 Order Setting

  Hearing [DE 81], hereby advise the Court as to the status of the issues in Plaintiff’s pending

  Plaintiff’s Motion For Protective Order Preventing Defendant From Communicating With Or

  Seeking Discovery From The Putative Class Members as follows:

          1.          The parties conferred by telephone as required by the Court’s May 21, 2019 Order.

          2.          The parties have reached agreement about the following:

                      a. Plaintiff will produce all remaining materials responsive to Coinbase’s

                         Requests for Production of Documents. While the Court’s ruling on this Motion

                         [DE 79] is pending, Coinbase will not use the information in those remaining

                         materials to contact, communicate with or seek discovery from putative class

                         members.

                      b. Although Coinbase continues to believe that it has no obligation to disclose to



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                         Plaintiff its contacts with putative class members to date, and without waiving

                         any of its rights, Coinbase informed Plaintiff of Coinbase’s limited contacts

                         with putative class members to date. Those contacts were exclusively with four

                         witnesses – three former Cryptsy employees and one former Coinbase

                         employee – who had been subpoenaed and deposed in this action, regarding

                         their depositions.

          3.          In all other respects, the parties have been unable to resolve the issues raised in the

  Motion [DE 79], Opposition Memorandum [DE 80] and Reply [DE 82], which remain for

  determination by the Court.

          4.          As set forth in Plaintiff’s Motion and Reply, Plaintiff maintains that Defendant

  should be (a) prohibited from communicating with or attempting to obtain discovery from absent

  class members, (b) precluded from using in this proceeding any discovery or other information

  obtained from absent class members, and (c) ordered to produce to Plaintiff any communications

  with and discovery obtained from absent class members. As stated in Plaintiff’s Motion, Federal

  Rule of Civil Procedure 23 and related case law empowers this Court to restrict or limit

  communications by Defendant to absent class members, and there is no basis to allow Defendant

  to do so, let alone without restriction or court supervision. A prohibition here is further warranted

  because of Defendant’s delay in seeking such communications and/or discovery, and because any

  attempts to so communicate with or obtain discovery from absent class members would occur after

  the applicable discovery cut-off period that expired on April 19, 2019.

          5.          As stated in Defendant’s Opposition Memorandum, Defendant is entitled to

  communicate with and seek discovery from witnesses who may be putative class members. A

  prior restraint or other limitation/condition on such communication, unsupported by any evidence



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  of actual or threatened abusive or misleading conduct, would be contrary to the established case

  law and would violate fundamental fairness, the U.S. Constitution, and the Federal Rules of Civil

  Procedure. Coinbase notes, however, that it has not sought any formal discovery from putative

  class members (other than the three former Cryptsy employees identified above, who are also fact

  witnesses and have already been deposed) and currently has no plans to do so.


                                                       Respectfully submitted,

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   Dated: May 30, 2019
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                                                   Attorneys for Defendant Coinbase, Inc.


                                CERTIFICATE OF SERVICE
          WE HEREBY CERTIFY that a copy of the foregoing was served electronically on this

  30th day of May, 2019 upon: ANDREW KEMP-GERSTEL, ESQ. and JAMES R. LIEBLER,

  II, ESQ., Liebler, Gonzalez & Portuondo, Counsel for Defendant, Coinbase Inc., Courthouse

  Tower - 25th Floor, 44 West Flagler Street, Miami, FL 33130; and STEVEN A. ELLIS, ESQ.,

  LAURA STOLL, ESQ. and GALEN PHILLIPS, ESQ., Goodwin Procter LLP, Pro Hac Vice

  Counsel for Defendant, Coinbase Inc., 601 South Figueroa Street, Los Angeles, CA 90017.


                                                            /s/ David C. Silver
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